  Case 4:21-cv-04081-TLB Document 2                  Filed 11/04/21 Page 1 of 39 PageID #: 2




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS

THORNELL BROWN, individually and on                  Case No.: __________________
behalf of all others similarly situated,

                 Plaintiff,                          CLASS ACTION COMPLAINT
        v.
                                                     DEMAND FOR JURY TRIAL
J.B. HUNT LOGISTICS, INC.,

                 Defendant.




        Plaintiff Thornell Brown (“Plaintiff”), in his individual capacity and on behalf of all others

similarly situated, brings this Class Action Complaint against J.B. Hunt Logistics, Inc.

(“Defendant”) and alleges, upon personal knowledge as to his own actions and his counsels’

investigations, and upon information and belief as to all other matters, as follows:

                                       I. INTRODUCTION

        1.       Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard Personally Identifiable Information (“PII”) that Defendant required from

prospective employees as a condition of being considered for employment, as well as individuals

hired as employees, including without limitation, names, Social Security numbers, and driver’s

license numbers.

        2.       Plaintiff also alleges that Defendant failed to provide timely, accurate, and adequate

notice to Plaintiff and similarly situated individuals (“Class Members”) that their PII had been lost

and precisely what type of information was unencrypted and is now in the possession of unknown

third parties.

        3.       Defendant is one of the largest transportation and logistics company in the United


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    Case 4:21-cv-04081-TLB Document 2                 Filed 11/04/21 Page 2 of 39 PageID #: 3



States. Defendant’s prospective employees, current employees, and former employees entrust

them with an extensive amount of their PII. Defendant retains this information—even after the

employment relationship ends or if a person is not hired to work for Defendant.

       4.      Between August 17, 2020 and July 2, 2021, Defendant exposed PII to “an

unauthorized actor.” 1 The unauthorized actor gained access to “the Microsoft Power Apps portal

used by J.B. Hunt to create driver applications.” 2

       5.      Nearly a year later, Defendant issued a “Notice of Data Breach,” dated October 18,

2021, to those whose PII may have been impacted.

       6.      By obtaining, collecting, using, and deriving a benefit from the PII of Plaintiff and

Class Members, Defendant assumed legal and equitable duties to those individuals to protect and

safeguard that information from unauthorized access and intrusion. Defendant admits that the

unencrypted PII that the attacker viewed and took included individuals’ name and Social Security

number. 3

       7.      Hackers can access and then offer for sale the unencrypted, unredacted PII to

criminals. The exposed PII of Plaintiff and Class Members can be sold on the dark web. Plaintiff

and Class Members now face a present and lifetime risk of identity theft, which is heightened here

by the loss of Social Security and driver’s license information.

       8.      This PII was compromised due to Defendant’s negligent and/or careless acts and



1
        https://apps.web.maine.gov/online/aeviewer/ME/40/108cd83a-7b5b-48f1-910b-
1a8391313bc6/20426490-1a44-47b0-afb0-2b8b9ab39437/document.html (last visited Oct. 26,
2021).
2
        Id.
3
        https://oag.ca.gov/ecrime/databreach/reports/sb24-546658 (last visited Oct. 26, 2021). It is
clear that the information exposed in the Data Breach was unencrypted. California law requires
companies to notify California residents “whose unencrypted personal information was, or is
reasonably believed to have been, acquired by an unauthorized person” due to a “breach of the
security of the system[.]” Cal. Civ. Code § 1798.82(a)(1) (emphasis added). Defendant notified
the California Attorney General of the Data Breach on Oct. 20, 2021, evidencing that the exposed
data was unencrypted.

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  Case 4:21-cv-04081-TLB Document 2                   Filed 11/04/21 Page 3 of 39 PageID #: 4



omissions and the failure to protect the PII of Plaintiff and Class Members. In addition to

Defendant’s failure to prevent the Data Breach, after discovering the breach, Defendant waited too

long to report it to the states’ Attorneys General and affected individuals.

       9.      As a result of the delayed response in discovering and reporting the breach, Plaintiff

and Class Members had no idea their PII had been compromised, and that they were, and continue

to be, at significant risk of identity theft and various other forms of personal, social, and financial

harm. The risk will remain for their respective lifetimes.

       10.     Plaintiff brings this action on behalf of all persons whose PII was compromised as

a result of Defendant’s failure to: (i) adequately protect the PII of Plaintiff and Class Members;

(ii) warn Plaintiff and Class Members of Defendant’s inadequate information security practices;

and (iii) effectively secure hardware containing protected PII using reasonable and effective

security procedures free of vulnerabilities and incidents. Defendant’s conduct amounts to

negligence and violates federal and state statutes.

       11.     Plaintiff and Class Members have suffered injury as a result of Defendant’s

conduct. These injuries include: (i) lost or diminished value of PII; (ii) out-of-pocket expenses

associated with the prevention, detection, and recovery from identity theft, tax fraud, and/or

unauthorized use of their PII; (iii) lost opportunity costs associated with attempting to mitigate the

actual consequences of the Data Breach, including but not limited to lost time, and (iv) the

continued and certainly increased risk to their PII, which: (a) remains unencrypted and available

for unauthorized third parties to access and abuse; and (b) may remain backed up in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the PII.

       12.     Defendant disregarded the rights of Plaintiff and Class Members by intentionally,

willfully, recklessly, or negligently failing to implement and maintain adequate and reasonable

measures to ensure that the PII of Plaintiff and Class Members was safeguarded, failing to take

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  Case 4:21-cv-04081-TLB Document 2                  Filed 11/04/21 Page 4 of 39 PageID #: 5



available steps to prevent an unauthorized disclosure of data, and failing to follow applicable,

required, and appropriate protocols, policies, and procedures regarding the encryption of data, even

for internal use. As a result, the PII of Plaintiff and Class Members was compromised through

disclosure to an unknown and unauthorized third party. Plaintiff and Class Members have a

continuing interest in ensuring that their information is and remains safe, and they should be

entitled to injunctive and other equitable relief.

                                          II. PARTIES

       13.     Plaintiff Brown is a resident and citizen of California. Plaintiff Brown is acting on

his own behalf and on behalf of others similarly situated. Defendant obtained and continues to

maintain Plaintiff Brown’s PII and has a legal duty and obligation to protect that PII from

unauthorized access and disclosure. Plaintiff Brown would not have entrusted his PII to Defendant

when he applied for employment had he known that Defendant would fail to maintain adequate

data security. Plaintiff Brown’s PII was compromised and disclosed as a result of the Data Breach.

       14.     Defendant J.B. Hunt Transport, Inc., is a corporation with its headquarters in

Lowell, Arkansas.

       15.     All of Plaintiff’s claims stated herein are asserted against Defendant and any of its

owners, predecessors, successors, subsidiaries, agents and/or assigns.

                             III. JURISDICTION AND VENUE

       16.     This Court has subject matter and diversity jurisdiction over this action under 28

U.S.C. § 1332(d) because this is a class action wherein the amount of controversy exceeds the sum

or value of $5 million, exclusive of interest and costs, there are more than 100 members in the

proposed Class, and at least one Class Member is a citizen of a state different from Defendant to

establish minimal diversity.




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    Case 4:21-cv-04081-TLB Document 2           Filed 11/04/21 Page 5 of 39 PageID #: 6



        17.    This court has personal jurisdiction over Defendant named in this action because

Defendant is headquartered in this District and Defendant conducts substantial business in this

District.

        18.    Venue is proper in this District under 28 U.S.C. §1391(b) because Defendant is

headquartered in this District and a substantial part of the events or omissions giving rise to

Plaintiff’s claims occurred in this District.

                               IV. FACTUAL ALLEGATIONS

        Background

        19.    Defendant is a freight and logistics company that operates in the United States,

Canada and Mexico. Defendant has employed thousands of people. 4

        20.    Plaintiff and Class Members who filled out an application to work for Defendant

were required to provide sensitive and confidential PII, including their names, Social Security

numbers, and other PII, which is static, does not change, and can be used to commit countless

different types of financial crimes.

        21.    Plaintiff and Class Members, as prospective, current, and former employees of

Defendant, relied on the sophistication of Defendant to keep their PII confidential and securely

maintained, to use this information for business purposes only, and to make only authorized

disclosures of this information. Plaintiff and Class Members demand security to safeguard their

PII.

        22.    Defendant had a duty to adopt reasonable measures to protect the PII of Plaintiff

and Class Members from involuntary disclosure to third parties.

        The Data Breach

        23.    Beginning on or about October 10, 2021, Defendant sent Plaintiff and other



4
        See https://www.jbhunt.com/our-company (last visited Oct. 26, 2021).

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    Case 4:21-cv-04081-TLB Document 2            Filed 11/04/21 Page 6 of 39 PageID #: 7



prospective, current, and former employees a Notice of Data Breach. Defendant informed the

recipients of the notice that:

        What Happened?

        J.B. Hunt has completed its investigation into a security incident involving a

        configuration error in the Microsoft Power Apps portal used by J.B. Hunt to create

        driver applications. Upon learning of the incident, we immediately took steps to

        secure the portal. The investigation determined that certain applicant information

        could have been accessed by an unauthorized actor between August 17, 2020

        through July 2, 2020.

        What Information Was Involved?

        We completed a careful review of the data and, on September 10, 2021, determined

        that the files contained your name and Social Security number. 5

        24.    On or around October 20, 2021, Defendant sent data breach notifications to various

state Attorneys General, including New Hampshire’s Attorney General, signed by Anthony

Valach, of Baker & Hostetler LLP, as counsel for Defendant. 6

        25.    Defendant admitted in the letters to the Attorneys General that unauthorized third

party gained access to “the Microsoft Power Apps portal used by J.B. Hunt to create driver

applications . . . certain applicant information could have been accessed by an unauthorized actor

between August 17, 2020 and July 2, 2021.” 7

        26.    In response to the Data Breach, Defendant vaguely claims that it implemented new




5
      https://apps.web.maine.gov/online/aeviewer/ME/40/108cd83a-7b5b-48f1-910b-
1a8391313bc6/20426490-1a44-47b0-afb0-2b8b9ab39437/document.html (last visited Oct. 20,
2021)
6
      https://www.doj.nh.gov/consumer/security-breaches/documents/j-b-hunt-transport-
20211020.pdf (last visited Oct. 26, 2021).
7
      Id.

                                                6
    Case 4:21-cv-04081-TLB Document 2              Filed 11/04/21 Page 7 of 39 PageID #: 8



security measures: “To reduce the risk of something like this from happening in the future, J.B.

Hunt has reviewed permissions to access data in the cloud, made modifications for all cloud

services, and implemented other measures to help prevent unauthorized access to J.B. Hunt data.” 8

The details of the root cause of the Data Breach, the specific vulnerabilities exploited in the

Microsoft Power App, and more specific remedial measures undertaken to ensure such a breach

does not occur again have not been shared with regulators or Plaintiff and Class Members, who

retain a vested interest in ensuring that their PII remains protected.

       27.     The unencrypted PII of Plaintiff and Class Members may end up for sale on the

dark web, or simply fall into the hands of companies that will use the detailed PII for targeted

marketing without the approval of Plaintiff and Class Members. Unauthorized individuals can

easily access the PII of Plaintiff and Class Members.

       28.     Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

causing the exposure of PII for many prospective, current, and former employees, such as

encrypting the information or deleting it when it is no longer needed.

       29.     As explained by the California Attorney General, “organizations have a

responsibility to protect personal information. External adversaries cause most data breaches, but

this does not mean that organizations are solely victims; they are also stewards of the data they

collect and maintain.” 9

       30.     To prevent and detect data breaches, Defendant could and should have

implemented, as recommended by the California Attorney General, certain security measures. For




8
        Id.
9
        California Data Breach Report, Cal. Dept. of Justice, February 2016, at 28 available at:
https://oag.ca.gov/sites/all/files/agweb/pdfs/dbr/2016-data-breach-report.pdf (last visited Oct. 27,
2021)

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     Case 4:21-cv-04081-TLB Document 2            Filed 11/04/21 Page 8 of 39 PageID #: 9



example, the standards published by the National Institute of Standards and Technology (NIST)

Special Publication 800-53 and the Framework for Improving Critical Infrastructure

Cybersecurity. 10 Further, the California Attorney General recommends that all organizations

implement the Center for Internet Security’s (CIS) Critical Security Controls.

        31.   To protect data, CIS recommends several safeguards, which include:

              a. Establishing and Maintaining a Data Management Process

              b. Establish and Maintain a Data Inventory

              c. Enforce Data Retention

              d. Securely Dispose of Data

              e. Encrypt Data on End-User Devices

              f. Encrypt Data on Removable Media

              g. Encrypt Sensitive Data in Transit

              h. Encrypt Sensitive Data at Rest

              i. Deploy a Data Loss Prevention Solution11

        32.   The occurrence of the Data Breach indicates that Defendant failed to adequately

implement one or more of the above measures to prevent unauthorized access, resulting in the Data

Breach and the exposure of the PII of 231,687 people, including Plaintiff and Class Members. 12

        Defendant Acquires, Collects, and Stores the PII of Plaintiff and Class Members.

        33.   Defendant has historically acquired, collected, and stored the PII of Plaintiff and

Class Members.

        34.   As a condition of applying to work for Defendant, Defendant requires that its



10
      Id. at 30
11
      See Center for Internet Security Critical Security Controls, Center for Internet Security,
May 2021, available at: https://www.cisecurity.org/
12
      https://apps.web.maine.gov/online/aeviewer/ME/40/108cd83a-7b5b-48f1-910b-
1a8391313bc6.shtml

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 Case 4:21-cv-04081-TLB Document 2                Filed 11/04/21 Page 9 of 39 PageID #: 10



applicants entrust them with highly confidential PII. According to Defendant’s privacy policy, the

information they collect may include name, email address, mailing address, phone number,

username and password, location information, and more. 13

       35.     By obtaining, collecting, and storing the PII of Plaintiff and Class Members,

Defendant assumed legal and equitable duties and knew or should have known that they were

responsible for protecting the PII from disclosure.

       36.     Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their PII and relied on Defendant to keep their PII confidential and maintained

securely, to use this information for business purposes only, and to make only authorized

disclosures of this information.

       Securing PII and Preventing Breaches

       37.     Defendant could have prevented this Data Breach by properly securing and

encrypting the files and file servers containing the PII of Plaintiff and Class Members.

Alternatively, Defendant could have destroyed the data, especially data from individuals who did

not obtain a job or are former employees.

       38.     Defendant’s policies on its website include promises and legal obligations to

maintain and protect PII, demonstrating an understanding of the importance of securing PII. For

example, Defendant’s Privacy Policy provides in part that they “have implemented technical,

administrative, and physical security measures to protect your personal information from

unauthorized access or disclosure and improper use.” The policy goes on to state that “access to

your personal information is restricted in our offices. Only employees who need [it] to perform a

specific job are granted access to personal information.” 14




13
       https://www.jbhunt.com/privacy-policy (last visited Oct. 26, 2021).
14
       Id.

                                                 9
 Case 4:21-cv-04081-TLB Document 2                Filed 11/04/21 Page 10 of 39 PageID #: 11



       39.     Defendant’s negligence in safeguarding the PII of Plaintiff and Class Members is

exacerbated by the repeated warnings and alerts directed to protecting and securing sensitive data.

       40.     Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the PII of Plaintiff and Class

Members from being compromised.

       41.     Defendant assures its prospective, current, and former employees that it is

concerned about PII security, as shown above in their Privacy Policy.

       Value of Personally Identifiable Information

       42.     The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.” 15

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.” 16

       43.     The PII of individuals remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, Personal Information can be sold at a price ranging from $40 to $200,

and bank details have a price range of $50 to $200. 17 Experian reports that a stolen credit or debit




15
       17 C.F.R. § 248.201 (2013).
16
       Id.
17
       Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends,
Oct. 16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-
the-dark-web-how-much-it-costs/ (last visited Oct. 26, 2021).

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 Case 4:21-cv-04081-TLB Document 2               Filed 11/04/21 Page 11 of 39 PageID #: 12



card number can sell for $5 to $110 on the dark web. 18 Criminals can also purchase access to entire

company data breaches from $900 to $4,500. 19

       44.     Social Security numbers, for example, are among the worst kind of PII to have

stolen because they may be put to a variety of fraudulent uses and are difficult for an individual to

change. The Social Security Administration stresses that the loss of an individual’s Social Security

number, as is the case here, can lead to identity theft and extensive financial fraud:



       A dishonest person who has your Social Security number can use it to get other

       personal information about you. Identity thieves can use your number and your

       good credit to apply for more credit in your name. Then, they use the credit cards

       and don’t pay the bills, it damages your credit. You may not find out that someone

       is using your number until you’re turned down for credit, or you begin to get calls

       from unknown creditors demanding payment for items you never bought. Someone

       illegally using your Social Security number and assuming your identity can cause

       a lot of problems. 20



       45.     What is more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,



18
        Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian,
Dec. 6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-
your-personal-information-is-selling-for-on-the-dark-web/ (last visited Oct. 25, 2021).
19
        In       the       Dark,         VPNOverview,           2019,        available       at:
https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last visited Oct. 26, 2021).
20
        Social Security Administration, Identity Theft and Your Social Security Number, available
at: https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited Oct. 26, 2021).

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 Case 4:21-cv-04081-TLB Document 2               Filed 11/04/21 Page 12 of 39 PageID #: 13



ongoing fraud activity to obtain a new number.

         46.   Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “[t]he credit bureaus and banks are able to link

the new number very quickly to the old number, so all of that old bad information is quickly

inherited into the new Social Security number.” 21

         47.   Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change—Social Security number, driver’s license number, name, and date of birth.

         48.   This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information and Social Security numbers are worth more than 10x on the

black market.” 22

         49.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         50.   The fraudulent activity resulting from the Data Breach may not come to light for

years.

         51.   There may be a time lag between when harm occurs versus when it is discovered,

and also between when PII is stolen and when it is used. According to the U.S. Government



21
        Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back,
NPR (Feb. 9, 2015), available at: http://www.npr.org/2015/02/09/384875839/data-stolen-by-
anthem-s-hackers-has-millionsworrying-about-identity-theft (last visited Oct. 26, 2021).
22
        Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit
Card        Numbers,       IT     World,        (Feb.       6,      2015),     available  at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last visited Oct. 26, 2021).

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 Case 4:21-cv-04081-TLB Document 2               Filed 11/04/21 Page 13 of 39 PageID #: 14



Accountability Office (“GAO”), which conducted a study regarding data breaches:

       [L]aw enforcement officials told us that in some cases, stolen data may be held for

       up to a year or more before being used to commit identity theft. Further, once stolen

       data have been sold or posted on the Web, fraudulent use of that information may

       continue for years. As a result, studies that attempt to measure the harm resulting

       from data breaches cannot necessarily rule out all future harm. 23

       52.     At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members, including Social Security

numbers, and of the foreseeable consequences that would occur if Defendant’s data security

system was breached, including, specifically, the significant costs that would be imposed on

Plaintiff and Class Members as a result of a breach.

       53.     Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

       54.     Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s servers, amounting to over 200,000 individuals’

detailed, PII and, thus, the significant number of individuals who would be harmed by the exposure

of the unencrypted data.

       55.     In the breach notification letter, Defendant made an offer of 12 months of identity

monitoring services. This is wholly inadequate to compensate Plaintiff and Class Members as it

fails to provide for the fact victims of data breaches and other unauthorized disclosures commonly

face multiple years of ongoing identity theft, medical and financial fraud, and it entirely fails to




23
        Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf (last visited Oct. 26, 2021).

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Case 4:21-cv-04081-TLB Document 2                 Filed 11/04/21 Page 14 of 39 PageID #: 15



provide sufficient compensation for the unauthorized release and disclosure of Plaintiff's and Class

Members’ PII.

       56.      The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.

       57.      The ramifications of Defendant’s failure to keep secure the PII of Plaintiff and Class

Members are long lasting and severe. Once PII is stolen, particularly Social Security numbers,

fraudulent use of that information and damage to victims may continue for years.

       Plaintiff Thornell Brown’s Experience

       58.      Plaintiff Brown was required to provide his PII to Defendant when he created an

account in early 2020 in order to apply for employment with Defendant. Plaintiff Brown has not

been employed by Defendant.

       59.      On or about October 18, 2021, Plaintiff Brown received notice from Defendant that

his PII had been improperly accessed and/or obtained by unauthorized third parties. This notice

indicated that Plaintiff Brown’s PII, including name and Social Security number, was

compromised as a result of the Data Breach.

       60.      As a result of the Data Breach, Plaintiff Brown made reasonable efforts to mitigate

the impact of the Data Breach, including but not limited to: researching the Data Breach;

reviewing credit reports and financial account statements for any indications of actual or attempted

identity theft or fraud; researching and signing up for credit monitoring and identity theft

protection services offered by Defendant; and contacting creditors and credit bureaus. Plaintiff

Brown has spent several hours dealing with the Data Breach, valuable time Plaintiff Brown

otherwise would have spent on other activities, including but not limited to applying for work

and/or recreation.




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Case 4:21-cv-04081-TLB Document 2                 Filed 11/04/21 Page 15 of 39 PageID #: 16



        61.    As a result of the Data Breach, Plaintiff Brown has suffered emotional distress as a

result of the release of his PII, which he believed would be protected from unauthorized access

and disclosure, including anxiety about unauthorized parties viewing, selling, and/or using his PII

for purposes of identity theft and fraud. Plaintiff Brown is very concerned about identity theft and

fraud, as well as the consequences of such identity theft and fraud resulting from the Data Breach.

        62.    Plaintiff Brown suffered actual injury from having his PII compromised as a result

of the Data Breach including, but not limited to (a) damage to and diminution in the value of his

Private Information, a form of property that Defendant obtained from Plaintiff Brown; (b) violation

of his privacy rights; and (c) present, imminent and impending injury arising from the increased

risk of identity theft and fraud.

        63.    As a result of the Data Breach, Plaintiff Brown anticipates spending considerable

time and money on an ongoing basis to try to mitigate and address harms caused by the Data

Breach. As a result of the Data Breach, Plaintiff Brown is at a present risk and will continue to be

at increased risk of identity theft and fraud for years to come.

                                    V. CLASS ALLEGATIONS

        64.    Plaintiff brings this nationwide class action on behalf of himself and on behalf of

all others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules

of Civil Procedure, for the following class:

                All individuals residing in the United States whose PII was

                compromised in the data breach first announced by Defendant on or

                about October 18, 2021 (the “Class”).

        65.    The California Subclass is defined as follows:

                All individuals residing in California whose PII was compromised

                in the data breach first announced by Defendant on or about October

                18, 2021 (the “California Subclass”).

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Case 4:21-cv-04081-TLB Document 2                Filed 11/04/21 Page 16 of 39 PageID #: 17



       66.     Collectively the Class and California Subclass are referred to as the Classes.

       67.     Excluded from the Classes are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; and all judges assigned to hear any

aspect of this litigation, as well as their immediate family members.

       68.     Plaintiff reserves the right to modify or amend the definition of the proposed Classes

before the Court determines whether certification is appropriate.

       69.     Numerosity, Fed R. Civ. P. 23(a)(1): The Classes are so numerous that joinder of

all members is impracticable. The Classes are apparently identifiable within Defendant’s records.

       70.     Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and fact

common to the Classes exist and predominate over any questions affecting only individual Class

Members. These include:

         a. Whether and to what extent Defendant had a duty to protect the PII of Plaintiff and

             Class Members;

         b. Whether Defendant had respective duties not to disclose the PII of Plaintiff and Class

             Members to unauthorized third parties;

         c. Whether Defendant had respective duties not to use the PII of Plaintiff and Class

             Members for non-business purposes;

         d. Whether Defendant failed to adequately safeguard the PII of Plaintiff and Class

             Members;

         e. Whether and when Defendant actually learned of the Data Breach;

         f. Whether Defendant adequately, promptly, and accurately informed Plaintiff and

             Class Members that their PII had been compromised;

         g. Whether Defendant violated the law by failing to promptly notify Plaintiff and Class

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Case 4:21-cv-04081-TLB Document 2                Filed 11/04/21 Page 17 of 39 PageID #: 18



             Members that their PII had been compromised;

         h. Whether Defendant failed to implement and maintain reasonable security procedures

             and practices appropriate to the nature and scope of the information compromised in

             the Data Breach;

         i. Whether Defendant adequately addressed and fixed the vulnerabilities which

             permitted the Data Breach to occur;

         j. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing to

             safeguard the PII of Plaintiff and Class Members;

         k. Whether Plaintiff and Class Members are entitled to actual damages, statutory

             damages, and/or nominal damages as a result of Defendant’s wrongful conduct;

         l. Whether Plaintiff and Class Members are entitled to restitution as a result of

             Defendant’s wrongful conduct; and

         m. Whether Plaintiff and Class Members are entitled to injunctive relief to redress the

             imminent and currently ongoing harm faced as a result of the Data Breach.

       71.     Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of those of other

Class Members because he had his PII compromised as a result of the Data Breach due to

Defendant’s misfeasance.

       72.     Policies Generally Applicable to the Classes: This class action is also appropriate

for certification because Defendant acted or refused to act on grounds generally applicable to the

Classes, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the Class Members and making final injunctive relief appropriate with respect

to the Class as a whole and to the California Subclass as a whole. Defendant’s policies challenged

herein apply to and affect Class Members uniformly and Plaintiff’s challenge of these policies

hinges on Defendant’s conduct with respect to the Classes each as a whole, not on facts or law

applicable only to Plaintiff.

                                                 17
Case 4:21-cv-04081-TLB Document 2                Filed 11/04/21 Page 18 of 39 PageID #: 19



       73.     Adequacy, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and adequately represent

and protect the interests of the Class Members in that they have no disabling conflicts of interest

that would be antagonistic to those of the other Class Members. Plaintiff seeks no relief that is

antagonistic or adverse to the Class Members and the infringement of the rights and the damages

they have suffered are typical of other Class Members. Plaintiff has retained counsel experienced

in complex class action litigation, and Plaintiff intends to prosecute this action vigorously.

       74.     Superiority and Manageability, Fed. R. Civ. P. 23(b)(3): The class litigation is an

appropriate method for fair and efficient adjudication of the claims involved. Class action

treatment is superior to all other available methods for the fair and efficient adjudication of the

controversy alleged herein; it will permit a large number of Class Members to prosecute their

common claims in a single forum simultaneously, efficiently, and without the unnecessary

duplication of evidence, effort, and expense that hundreds of individual actions would require.

Class action treatment will permit the adjudication of relatively modest claims by certain Class

Members, who could not individually afford to litigate a complex claim against large corporations,

like Defendant. Further, even for those Class Members who could afford to litigate such a claim,

it would still be economically impractical and impose a burden on the courts.

       75.     The nature of this action and the nature of laws available to Plaintiff and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendant would

necessarily gain an unconscionable advantage since they would be able to exploit and overwhelm

the limited resources of each individual Class Member with superior financial and legal resources;

the costs of individual suits could unreasonably consume the amounts that would be recovered;

proof of a common course of conduct to which Plaintiff was exposed is representative of that

experienced by the Classes and will establish the right of each Class Member to recover on the

cause of action alleged; and individual actions would create a risk of inconsistent results and would

                                                 18
Case 4:21-cv-04081-TLB Document 2                Filed 11/04/21 Page 19 of 39 PageID #: 20



be unnecessary and duplicative of this litigation.

       76.     The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

       77.     Adequate notice can be given to Class Members directly using information

maintained in Defendant’s records.

       78.     Unless a Class-wide injunction is issued, Defendant may continue in its failure to

properly secure the PII of Class Members, Defendant may continue to refuse to provide proper

notification to Class Members regarding the Data Breach, and Defendant may continue to act

unlawfully as set forth in this Complaint.

       79.     Further, Defendant has acted or refused to act on grounds generally applicable to

the Classes and, accordingly, final injunctive or corresponding declaratory relief with regard to the

Class Members as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure.

       80.     Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

              a. Whether Defendant owed a legal duty to Plaintiff and Class Members to exercise

                  due care in collecting, storing, using, and safeguarding their PII;

              b. Whether Defendant breached a legal duty to Plaintiff and Class Members to

                  exercise due care in collecting, storing, using, and safeguarding their PII;

              c. Whether Defendant failed to comply with its own policies and applicable laws,

                  regulations, and industry standards relating to data security;

                                                 19
Case 4:21-cv-04081-TLB Document 2                Filed 11/04/21 Page 20 of 39 PageID #: 21



              d. Whether an implied contract existed between Defendant on the one hand, and

                  Plaintiff and Class Members on the other, and the terms of that implied contract;

              e. Whether Defendant breached the implied contract;

              f. Whether Defendant adequately, and accurately informed Plaintiff and Class

                  Members that their PII had been compromised;

              g. Whether Defendant failed to implement and maintain reasonable security

                  procedures and practices appropriate to the nature and scope of the information

                  compromised in the Data Breach;

              h. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing

                  to safeguard the PII of Plaintiff and Class Members; and,

              i. Whether Class Members are entitled to actual damages, statutory damages,

                  nominal damages, and/or injunctive relief as a result of Defendant’s wrongful

                  conduct.



                                          COUNT I
                                       NEGLIGENCE
                       (On Behalf of Plaintiff and the Nationwide Class)


       81.     Plaintiff and the Class re-allege and incorporate by reference herein all of the

allegations contained in paragraphs 1 through 80.

       82.     As a condition of applying to work for Defendant, Defendant’s prospective, current,

and former employees were obligated to provide Defendant with PII, among other sensitive

information, their names and Social Security numbers.

       83.     Plaintiff and the Class entrusted their PII to Defendant on the premise and with the

understanding that Defendant would safeguard their information, use their PII for business

purposes only, and/or not disclose their PII to unauthorized third parties.


                                                 20
 Case 4:21-cv-04081-TLB Document 2                Filed 11/04/21 Page 21 of 39 PageID #: 22



         84.    Defendant has full knowledge of the sensitivity of the PII and the types of harm that

Plaintiff and the Class could and would suffer if the PII were wrongfully disclosed.

         85.    Defendant knew or reasonably should have known that the failure to exercise due

care in the collecting, storing, and using of the PII of Plaintiff and the Class involved an

unreasonable risk of harm to Plaintiff and the Class, even if the harm occurred through the criminal

acts of a third party.

         86.    Defendant had a duty to exercise reasonable care in safeguarding, securing, and

protecting such information from being compromised, lost, stolen, misused, and/or disclosed to

unauthorized parties. This duty includes, among other things, designing, maintaining, and testing

Defendant’s security protocols to ensure that the PII of Plaintiff and the Class in Defendant’s

possession was adequately secured and protected.

         87.    Defendant also had a duty to exercise appropriate clearinghouse practices to remove

PII no longer need about prospective and former employees.

         88.    Defendant also had a duty to have procedures in place to detect and prevent the

improper access and misuse of the PII of Plaintiff and the Class.

         89.    Defendant’s duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendant and Plaintiff and the Class. That special relationship

arose because Plaintiff and the Class entrusted Defendant with their confidential PII, a necessary

part of obtaining a job from Defendant and maintaining an employee/employer relationship if

hired.

         90.    Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiff or the Class.

         91.    A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly in light of Defendant’s inadequate security

practices.

                                                 21
Case 4:21-cv-04081-TLB Document 2                  Filed 11/04/21 Page 22 of 39 PageID #: 23



        92.    Plaintiff and the Class were the foreseeable and probable victims of any inadequate

security practices and procedures. Defendant knew or should have known of the inherent risks in

collecting and storing the PII of Plaintiff and the Class, the critical importance of providing

adequate security of that information, and the necessity for encrypting or redacting PII stored on

Defendant’s systems.

        93.    Defendant’s own conduct created a foreseeable risk of harm to Plaintiff and the

Class. Defendant’s misconduct included, but was not limited to, its failure to take the steps and

opportunities to prevent the Data Breach as set forth herein. Defendant’s misconduct also included

its decisions to not comply with industry standards for the safekeeping of the PII of Plaintiff and

the Class, including basic encryption techniques freely available to Defendant.

        94.    Plaintiff and the Class had no ability to protect their PII that was in, and possibly

remains in, Defendant’s possession.

        95.    Defendant was in a position to protect against the harm suffered by Plaintiff and the

Class as a result of the Data Breach.

        96.    Defendant had and continues to have a duty to adequately disclose that the PII of

Plaintiff and the Class within Defendant’s possession might have been compromised, exactly how

it was compromised, and precisely the types of data that were compromised and when. Such notice

was necessary to allow Plaintiff and the Class to take steps to prevent, mitigate, and repair any

identity theft and the fraudulent use of their PII by third parties.

        97.    Defendant had a duty to employ proper procedures to prevent the unauthorized

dissemination of the PII of Plaintiff and the Class.

        98.    Defendant has admitted that the PII of Plaintiff and the Class was wrongfully lost

and disclosed to unauthorized third persons as a result of the Data Breach.

        99.    Defendant, through its actions and/or omissions, unlawfully breached its duties to

Plaintiff and the Class by failing to implement industry protocols and exercise reasonable care in

                                                  22
Case 4:21-cv-04081-TLB Document 2                   Filed 11/04/21 Page 23 of 39 PageID #: 24



protecting and safeguarding the PII of Plaintiff and the Class during the time the PII was within

Defendant’s possession or control.

          100.   Defendant improperly and inadequately safeguarded the PII of Plaintiff and the

Class in deviation of standard industry rules, regulations, and practices at the time of the Data

Breach.

          101.   Defendant failed to heed industry warnings and alerts to provide adequate

safeguards to protect the PII of Plaintiff and the Class in the face of increased risk of theft.

          102.   Defendant, through its actions and/or omissions, unlawfully breached its duty to

Plaintiff and the Class by failing to have appropriate procedures in place to detect and prevent

dissemination of its prospective, current, and former employees’ PII.

          103.   Defendant, through its actions and/or omissions, unlawfully breached its duty to

adequately and timely disclose to Plaintiff and the Class the existence and scope of the Data

Breach.

          104.   But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff and

the Class, the PII of Plaintiff and the Class would not have been compromised.

          105.   There is a close causal connection between Defendant’s failure to implement

security measures to protect the PII of Plaintiff and the Class and the present harm, or risk of

imminent harm, suffered by Plaintiff and the Class. The PII of Plaintiff and the Class was lost and

accessed as the proximate result of Defendant’s failure to exercise reasonable care in safeguarding

such PII by adopting, implementing, and maintaining appropriate security measures.

          106.   Additionally, Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice by

businesses, such as Defendant, of failing to use reasonable measures to protect PII. The FTC

publications and orders described above also form part of the basis of Defendant’s duty in this

regard.

                                                   23
Case 4:21-cv-04081-TLB Document 2                 Filed 11/04/21 Page 24 of 39 PageID #: 25



        107.   Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect PII and not complying with applicable industry standards, as described in detail herein.

Defendant’s conduct was particularly unreasonable given the nature and amount of PII they

obtained and stored and the foreseeable consequences of the immense damages that would result

to Plaintiff and the Class.

        108.   Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se.

        109.   Plaintiff and the Class are within the class of persons that the FTC Act was intended

to protect.

        110.   The harm that occurred as a result of the Data Breach is the type of harm the FTC

Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

which, as a result of its failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Class.

        111.   As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Class have suffered and will suffer injury, including but not limited to: (i) actual

identity theft; (ii) the loss of the opportunity of how their PII is used; (iii) the compromise,

publication, and/or theft of their PII; (iv) out-of-pocket expenses associated with the prevention,

detection, and recovery from identity theft, tax fraud, and/or unauthorized use of their PII; (v) lost

opportunity costs associated with effort expended and the loss of productivity addressing and

attempting to mitigate the actual present and future consequences of the Data Breach, including

but not limited to efforts spent researching how to prevent, detect, contest, and recover from tax

fraud and identity theft; (vi) costs associated with placing freezes on credit reports; (vii) the

continued risk to their PII, which remain in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII of Plaintiff and the Class; and (viii) costs in terms of time, effort, and

money that will be expended to prevent, detect, contest, and repair the impact of the PII

                                                 24
Case 4:21-cv-04081-TLB Document 2                Filed 11/04/21 Page 25 of 39 PageID #: 26



compromised as a result of the Data Breach for the remainder of the lives of Plaintiff and the Class.

       112.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Class have suffered and will continue to suffer other forms of injury and/or harm,

including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic and

non-economic losses.

       113.    Additionally, as a direct and proximate result of Defendant’s negligence and

negligence per se, Plaintiff and the Class have suffered and will suffer the continued risks of

exposure of their PII, which remain in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII in its continued possession.

       114.    Plaintiff and Class Members are therefore entitled to damages, including restitution

and unjust enrichment, declaratory and injunctive relief, and attorney fees, costs, and expenses.

                                          COUNT II
                           BREACH OF IMPLIED CONTRACT
                       (On Behalf of Plaintiff and the Nationwide Class)

       115.    Plaintiff and the Class re-allege and incorporate by reference herein all of the

allegations contained in paragraphs 1 through 80.

       116.    Defendant required Plaintiff and the Class to provide their PII, including names and

Social Security numbers, as a condition of applying for employment and solicited these

applications by advertising their career opportunities.

       117.    As a condition of applying for employment with Defendant, Plaintiff and the Class

provided their PII. In so doing, Plaintiff and the Class entered into implied contracts with

Defendant by which Defendant agreed to safeguard and protect such information, to keep such

information secure and confidential, and to timely and accurately notify Plaintiff and the Class if

their data had been breached and compromised or stolen.




                                                 25
Case 4:21-cv-04081-TLB Document 2                 Filed 11/04/21 Page 26 of 39 PageID #: 27



       118.    Plaintiff and the Class fully performed their obligations under the implied contracts

with Defendant.

       119.    Defendant breached the implied contracts they made with Plaintiff and the Class by

failing to safeguard and protect their PII, and by failing to provide timely and accurate notice to

them that PII was compromised as a result of the Data Breach.

       120.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiff and the Class have suffered (and will continue to suffer) ongoing, imminent, and

impending threat of identity theft crimes, fraud, and abuse, resulting in monetary loss and

economic harm; actual identity theft crimes, fraud, and abuse, resulting in monetary loss and

economic harm; loss of the confidentiality of the stolen confidential data; the illegal sale of the

compromised data on the dark web; expenses and/or time spent on credit monitoring and identity

theft insurance; time spent scrutinizing bank statements, credit card statements, and credit reports;

expenses and/or time spent initiating fraud alerts, decreased credit scores and ratings; lost work

time; and other economic and non-economic harm.

                                         COUNT III
                                 INVASION OF PRIVACY
                       (On Behalf of Plaintiff and the Nationwide Class)

       121.    Plaintiff and the Class re-allege and incorporate by reference herein all of the

allegations contained in paragraphs 1 through 80.

       122.    Plaintiff and the Class had a legitimate expectation of privacy to their PII and were

entitled to the protection of this information against disclosure to unauthorized third parties.

       123.    Defendant owed a duty to its prospective, current, and former employees, including

Plaintiff and the Class, to keep their PII contained as a part thereof, confidential.

       124.    Defendant failed to protect and released to unknown and unauthorized third parties

the PII of Plaintiff and the Class.

       125.    Defendant allowed unauthorized and unknown third parties access to and

                                                  26
Case 4:21-cv-04081-TLB Document 2                  Filed 11/04/21 Page 27 of 39 PageID #: 28



examination of the PII of Plaintiff and the Class, by way of Defendant’s failure to encrypt, secure,

or delete the PII.

        126.   The unauthorized release to, custody of, and examination by unauthorized third

parties of the PII of Plaintiff and the Class is highly offensive to a reasonable person.

        127.   The intrusion was into a place or thing, which was private and is entitled to be

private. Plaintiff and the Class disclosed their PII to Defendant as part of their prospective, current,

and former employment with Defendant, but privately with an intention that the PII would be kept

confidential and would be protected from unauthorized disclosure. Plaintiff and the Class were

reasonable in their belief that such information would be kept private and would not be disclosed

without their authorization.

        128.   The Data Breach at the hands of Defendant constitutes an intentional interference

with Plaintiff’s and the Class’s interest in solitude or seclusion, either as to their persons or as to

their private affairs or concerns, of a kind that would be highly offensive to a reasonable person.

        129.   Defendant acted with a knowing state of mind when they permitted the Data Breach

to occur because they were with actual knowledge that its information security practices were

inadequate and insufficient.

        130.   Because Defendant acted with this knowing state of mind, they had notice and knew

the inadequate and insufficient information security practices would cause injury and harm to

Plaintiff and the Class.

        131.   As a proximate result of the above acts and omissions of Defendant, the PII of

Plaintiff and the Class was disclosed to third parties without authorization, causing Plaintiff and

the Class to suffer damages.

        132.   Unless and until enjoined, and restrained by order of this Court, Defendant’s

wrongful conduct will continue to cause great and irreparable injury to Plaintiff and the Class in

that the PII maintained by Defendant can be viewed, distributed, and used by unauthorized persons

                                                  27
 Case 4:21-cv-04081-TLB Document 2                 Filed 11/04/21 Page 28 of 39 PageID #: 29



for years to come. Plaintiff and the Class have no adequate remedy at law for the injuries in that a

judgment for monetary damages will not end the invasion of privacy for Plaintiff and the Class.

                                            COUNT IV
                                 BREACH OF CONFIDENCE
                         (On Behalf of Plaintiff and the Nationwide Class)

        133.     Plaintiff and the Class re-allege and incorporate by reference herein all of the

allegations contained in paragraphs 1 through 80.

        134.     At all times during Plaintiff’s and the Class’s interactions with Defendant,

Defendant was fully aware of the confidential and sensitive nature of Plaintiff’s and the Class’s

PII that Plaintiff and the Class provided to Defendant.

        135.     As alleged herein and above, Defendant’s relationship with Plaintiff and the Class

was governed by terms and expectations that Plaintiff’s and the Class’s PII would be collected,

stored, and protected in confidence, and would not be disclosed to unauthorized third parties.

        136.     Plaintiff and the Class provided their PII to Defendant with the explicit and implicit

understandings that Defendant would protect and not permit the PII to be disseminated to any

unauthorized third parties.

        137.     Plaintiff and the Class also provided their PII to Defendant with the explicit and

implicit understandings that Defendant would take precautions to protect that PII from

unauthorized disclosure.

        138.     Defendant voluntarily received in confidence Plaintiff’s and the Class’s PII with

the understanding that PII would not be disclosed or disseminated to the public or any unauthorized

third parties.

        139.     Due to Defendant’s failure to prevent and avoid the Data Breach from occurring,

Plaintiff’s and the Class’s PII was disclosed and misappropriated to unauthorized third parties

beyond Plaintiff’s and the Class’s confidence, and without their express permission.




                                                   28
 Case 4:21-cv-04081-TLB Document 2                  Filed 11/04/21 Page 29 of 39 PageID #: 30



        140.    As a direct and proximate cause of Defendant’s actions and/or omissions, Plaintiff

and the Class have suffered damages.

        141.    But for Defendant’s disclosure of Plaintiff’s and the Class’s PII in violation of the

parties’ understanding of confidence, their PII would not have been compromised, stolen, viewed,

accessed, and used by unauthorized third parties. Defendant’s Data Breach was the direct and legal

cause of the theft of Plaintiff’s and the Class’s PII as well as the resulting damages.

        142.    The injury and harm Plaintiff and the Class suffered was the reasonably foreseeable

result of Defendant’s unauthorized disclosure of Plaintiff’s and the Class’s PII. Defendant knew

or should have known its methods of accepting and securing Plaintiff’s and the Class’s PII was

inadequate as it relates to, at the very least, securing servers and other equipment containing

Plaintiff’s and the Class’s PII.

        143.    As a direct and proximate result of Defendant’s breach of its confidence with

Plaintiff and the Class, Plaintiff and the Class have suffered and will suffer injury, including but

not limited to: (i) actual identity theft; (ii) the loss of the opportunity how their PII is used; (iii) the

compromise, publication, and/or theft of their PII; (iv) out-of-pocket expenses associated with the

prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use of their

PII; (v) lost opportunity costs associated with effort expended and the loss of productivity

addressing and attempting to mitigate the actual present and future consequences of the Data

Breach, including but not limited to efforts spent researching how to prevent, detect, contest, and

recover from tax fraud and identity theft; (vi) costs associated with placing freezes on credit

reports; (vii) the continued risk to their PII, which remain in Defendant’s possession and is subject

to further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the PII of prospective, current, and former employees; and (viii)

present and future costs in terms of time, effort, and money that will be expended to prevent, detect,




                                                    29
Case 4:21-cv-04081-TLB Document 2                Filed 11/04/21 Page 30 of 39 PageID #: 31



contest, and repair the impact of the PII compromised as a result of the Data Breach for the

remainder of the lives of Plaintiff and the Class.

       144.    As a direct and proximate result of Defendant’s breaches of confidence, Plaintiff

and the Class have suffered and will continue to suffer other forms of injury and/or harm,

including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic and

non-economic losses.

                                          COUNT V
                                  UNJUST ENRICHMENT
                       (On Behalf of Plaintiff and the Nationwide Class)

       145.    Plaintiff and the Class re-allege and incorporate by reference herein all of the

allegations contained in paragraphs 1 through 80.

       146.    Defendant benefited from receiving Plaintiff’s and Class Members’ PII by its ability

to retain and use that information for its own benefit. Defendant understood this benefit.

       147.    Defendant also understood and appreciated that Plaintiff’s and Class Members’ PII

was private and confidential, and its value depended upon Defendant maintaining the privacy and

confidentiality of that information.

       148.    Plaintiff and Class Members conferred a monetary benefit upon Defendant in the

form of providing an ability to find people to employ, and in connection thereto, by providing their

PII to Defendant with the understanding that Defendant would pay for the administrative costs of

reasonable data privacy and security practices and procedures. Specifically, they were required to

provide Defendant with their PII. In exchange, Plaintiff and Class members should have received

adequate protection and data security for such PII held by Defendant.

       149.    Defendant knew Plaintiff and Class members conferred a benefit which Defendant

accepted. Defendant profited from these transactions and used the PII of Plaintiff and Class

Members for business purposes.




                                                 30
Case 4:21-cv-04081-TLB Document 2                 Filed 11/04/21 Page 31 of 39 PageID #: 32



          150.   Defendant failed to provide reasonable security, safeguards, and protections to the

PII of Plaintiff and Class Members.

          151.   Under the principles of equity and good conscience, Defendant should not be

permitted to retain money belonging to Plaintiff and Class members, because Defendant failed to

implement appropriate data management and security measures mandated by industry standards.

          152.   Defendant wrongfully accepted and retained these benefits to the detriment of

Plaintiff and Class Members.

          153.   Defendant’s enrichment at the expense of Plaintiff and Class Members is and was

unjust.

          154.   As a result of Defendant’s wrongful conduct, as alleged above, Plaintiff and the

Class Members are entitled to restitution and disgorgement of all profits, benefits, and other

compensation obtained by Defendant, plus attorneys’ fees, costs, and interest thereon.

                                           COUNT VI
                         CALIFORNIA CONSUMER PRIVACY ACT
                       (On Behalf of Plaintiff and the California Subclass)

          155.   Plaintiff and the California Subclass re-allege and incorporate by reference herein

all of the allegations contained in paragraphs 1 through 80.

          156.   Defendant violated section 1798.150(a) of the California Consumer Privacy Act

(“CCPA”) by failing to prevent Plaintiff’s and the California Subclass’ PII from unauthorized

access and exfiltration, theft, or disclosure as a result of Defendant’s violations of its duty to

implement and maintain reasonable security procedures and practices appropriate to the nature of

the information to protect the PII.

          157.   The PII of Plaintiff and the California Subclass was subjected to unauthorized

access and exfiltration, theft, or disclosure as a direct and proximate result of Defendant’s violation

of its duty under the CCPA.




                                                  31
Case 4:21-cv-04081-TLB Document 2                  Filed 11/04/21 Page 32 of 39 PageID #: 33



       158.    Plaintiff and the California Subclass lost money or property, including but not

limited to the loss of legally protected interest in the confidentiality and privacy of their PII,

nominal damages, and additional losses as a direct and proximate result of Defendant’s acts

described above.

       159.    Defendant knew, or should have known, that their network computer systems and

data security practices were inadequate to safeguard PII and that the risk of a data breach or theft

was highly likely. Defendant failed to implement and maintain reasonable security procedures and

practices appropriate to the nature of the information to protect PII, such as encrypting the PII so

in the event of a data breach the PII cannot be read by an unauthorized third party. As a result of

the failure to implement reasonable security procedures and practices, the PII of Plaintiff and

members of the California Subclass was exposed.

       160.    Defendant is organized for the profit or financial benefit of its owners and collects

PII as defined in Cal. Civ. Code section 1798.140.

       161.    Plaintiff and the California Subclass seek injunctive or other equitable relief to

ensure that Defendant hereinafter adequately safeguards PII by implementing reasonable security

procedures and practices. This relief is important because Defendant still holds PII related to

Plaintiff and the California Subclass. Plaintiff and the California Subclass have an interest in

ensuring that their PII is reasonably protected.

       162.    On October 27, 2021 Plaintiff’s counsel sent a notice letter to Defendant’s

registered service agents via certified mail. Assuming Defendant does not cure the effects of the

Data Breach, which would require retrieving the PII or securing the PII from continuing and future

use, within 30 days (Plaintiff believes any such cure is not possible under these facts and

circumstances), Plaintiff intends to amend this complaint to seek actual damages and statutory

damages of no less than $100 and up to $750 per customer record subject to the Data Breach on

behalf of the California Subclass as authorized by the CCPA.

                                                   32
Case 4:21-cv-04081-TLB Document 2                 Filed 11/04/21 Page 33 of 39 PageID #: 34



                                         COUNT VII
                       CALIFORNIA UNFAIR COMPETITION LAW
                           Cal. Bus. & Prof. Code § 17200, et seq.
                      (On Behalf of Plaintiff and the California Subclass)

       163.    Plaintiff and the California Subclass re-allege and incorporate by reference herein

all of the allegations contained in paragraphs 1 through 80.

       164.    By reason of the conduct alleged herein, Defendant engaged in unlawful and unfair

business practices within the meaning of California’s Unfair Competition Law (“UCL”), Business

and Professions Code § 17200, et seq.

       165.    Defendant stored the PII of Plaintiff and Class Members in its computer systems.

       166.    Defendant knew or should have known they did not employ reasonable, industry

standard, and appropriate security measures that complied with federal regulations and that would

have kept Plaintiff’s and Class Members’ PII secure and prevented the loss or misuse of that PII.

       167.    Defendant did not disclose at any time that Plaintiff’s and Class Members’ PII was

vulnerable to hackers because Defendant’s data security measures were inadequate and outdated,

and Defendant was the only one in possession of that material information, which Defendant had

a duty to disclose.

       Unlawful Business Practices

       168.    As noted above, Defendant violated Section 5(a) of the FTC Act (which is a

predicate legal violation for this UCL claim) by misrepresenting, by omission, the safety of their

computer systems, specifically the security thereof, and its ability to safely store Plaintiff’s and

Class Members’ PII.

       169.    Defendant also violated Section 5(a) of the FTC Act by failing to implement

reasonable and appropriate security measures or follow industry standards for data security, by

failing to ensure its affiliates with which it directly or indirectly shared the PII did the same, and

by failing to timely notify Plaintiff and Class Members of the Data Breach.


                                                 33
Case 4:21-cv-04081-TLB Document 2                  Filed 11/04/21 Page 34 of 39 PageID #: 35



        170.   If Defendant had complied with these legal requirements, Plaintiff and Class

Members would not have suffered the damages related to the Data Breach, and consequently from

Defendant’s failure to timely notify Plaintiff and Class Members of the Data Breach.

        171.   Defendant’s acts and omissions as alleged herein were unlawful and in violation of,

inter alia, Section 5(a) of the FTC Act.

        172.   Plaintiff and Class Members suffered injury in fact and lost money or property as

the result of Defendant’s unlawful business practices. In addition, Plaintiff’s and Class Members’

PII was taken and is in the hands of those who will use it for their own advantage, or is being sold

for value, making it clear that the hacked information is of tangible value. Plaintiff and Class

Members have also suffered consequential out of pocket losses for procuring credit freeze or

protection services, identity theft monitoring, and other expenses relating to identity theft losses

or protective measures.

        Unfair Business Practices

        173.   Defendant engaged in unfair business practices under the “balancing test.” The

harm caused by Defendant’s actions and omissions, as described in detail above, greatly outweigh

any perceived utility. Indeed, Defendant’s failure to follow basic data security protocols and failure

to disclose inadequacies of Defendant’s data security cannot be said to have had any utility at all.

All of these actions and omissions were clearly injurious to Plaintiff and Class Members, directly

causing the harms alleged below.

        174.   Defendant engaged in unfair business practices under the “tethering test.”

Defendant’s actions and omissions, as described in detail above, violated fundamental public

policies expressed by the California Legislature. See, e.g., Cal. Civ. Code § 1798.1 (“The

Legislature declares that . . . all individuals have a right of privacy in information pertaining to

them . . . . The increasing use of computers . . . has greatly magnified the potential risk to individual

privacy that can occur from the maintenance of personal information.”); Cal. Civ. Code §

                                                   34
Case 4:21-cv-04081-TLB Document 2                  Filed 11/04/21 Page 35 of 39 PageID #: 36



1798.81.5(a) (“It is the intent of the Legislature to ensure that personal information about

California residents is protected.”); Cal. Bus. & Prof. Code § 22578 (“It is the intent of the

Legislature that this chapter [including the Online Privacy Protection Act] is a matter of statewide

concern.”). Defendant’s acts and omissions thus amount to a violation of the law.

        175.   Defendant engaged in unfair business practices under the “FTC test.” The harm

caused by Defendant’s actions and omissions, as described in detail above, is substantial in that it

affects thousands of Class Members and has caused those persons to suffer actual harms. Such

harms include a substantial risk of identity theft, disclosure of Plaintiff’s and Class Members’ PII

to third parties without their consent, diminution in value of their PII, consequential out of pocket

losses for procuring credit freeze or protection services, identity theft monitoring, and other

expenses relating to identity theft losses or protective measures. This harm continues given the

fact that Plaintiff’s and Class Members’ PII remains in Defendant’s possession, without adequate

protection, and is also in the hands of those who obtained it without their consent. Defendant’s

actions and omissions violated Section 5(a) of the Federal Trade Commission Act. See 15 U.S.C.

§ 45(n) (defining “unfair acts or practices” as those that “cause[ ] or [are] likely to cause substantial

injury to consumers which [are] not reasonably avoidable by consumers themselves and not

outweighed by countervailing benefits to consumers or to competition”); see also, e.g., In re

LabMD, Inc., FTC Docket No. 9357, FTC File No. 102-3099 (July 28, 2016) (failure to employ

reasonable and appropriate measures to secure personal information collected violated § 5(a) of

FTC Act).

        176.   Plaintiff and Class Members suffered injury in fact and lost money or property as

the result of Defendant’s unfair business practices. Plaintiff and Class Members’ PII was taken

and is in the hands of those who will use it for their own advantage, or is being sold for value,

making it clear that the hacked information is of tangible value. Plaintiff and Class Members have

also suffered consequential out of pocket losses for procuring credit freeze or protection services,

                                                   35
Case 4:21-cv-04081-TLB Document 2                  Filed 11/04/21 Page 36 of 39 PageID #: 37



identity theft monitoring, and other expenses relating to identity theft losses or protective

measures.

       177.     As a result of Defendant’s unlawful and unfair business practices in violation of the

UCL, Plaintiff and Class Members are entitled to damages, injunctive relief, and reasonable

attorneys’ fees and costs.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and Class Members, request judgment

against Defendant and that the Court grant the following:

       A.       For an Order certifying the Class, as defined herein, and appointing Plaintiff and

                his Counsel to represent each such Class;

       B.       For equitable relief enjoining Defendant from engaging in the wrongful conduct

                complained of herein pertaining to the misuse and/or disclosure of the PII of

                Plaintiff and Class Members, and from refusing to issue prompt, complete, any

                accurate disclosures to Plaintiff and Class Members;

       C.       For injunctive relief requested by Plaintiff, including but not limited to, injunctive

                and other equitable relief as is necessary to protect the interests of Plaintiff and

                Class Members, including but not limited to an order:

                i.   prohibiting Defendant from engaging in the wrongful and unlawful acts

                     described herein;

               ii.   requiring Defendant to protect, including through encryption, all data collected

                     through the course of its business in accordance with all applicable regulations,

                     industry standards, and federal, state or local laws;

              iii.   requiring Defendant to delete, destroy, and purge the personal identifying

                     information of Plaintiff and Class Members unless Defendant can provide to

                     the Court reasonable justification for the retention and use of such information

                                                   36
Case 4:21-cv-04081-TLB Document 2               Filed 11/04/21 Page 37 of 39 PageID #: 38



                when weighed against the privacy interests of Plaintiff and Class Members;

         iv.    requiring Defendant to implement and maintain a comprehensive Information

                Security Program designed to protect the confidentiality and integrity of the PII

                of Plaintiff and Class Members;

          v.    prohibiting Defendant from maintaining the PII of Plaintiff and Class Members

                on a cloud-based database;

         vi.    requiring   Defendant      to    engage    independent     third-party   security

                auditors/penetration testers as well as internal security personnel to conduct

                testing, including simulated attacks, penetration tests, and audits on

                Defendant’s systems on a periodic basis, and ordering Defendant to promptly

                correct any problems or issues detected by such third-party security auditors;

        vii.    requiring Defendant to engage independent third-party security auditors and

                internal personnel to run automated security monitoring;

        viii.   requiring Defendant to audit, test, and train its security personnel regarding any

                new or modified procedures;

         ix.    requiring Defendant to segment data by, among other things, creating firewalls

                and access controls so that if one area of Defendant’s network is compromised,

                hackers cannot gain access to other portions of Defendant’s systems;

          x.    requiring Defendant to conduct regular database scanning and securing checks;

         xi.    requiring Defendant to establish an information security training program that

                includes at least annual information security training for all employees, with

                additional training to be provided as appropriate based upon the employees’

                respective responsibilities with handling personal identifying information, as

                well as protecting the personal identifying information of Plaintiff and Class

                Members;

                                                37
Case 4:21-cv-04081-TLB Document 2              Filed 11/04/21 Page 38 of 39 PageID #: 39



         xii.    requiring Defendant to routinely and continually conduct internal training and

                 education, and on an annual basis to inform internal security personnel how to

                 identify and contain a breach when it occurs and what to do in response to a

                 breach;

         xiii.   requiring Defendant to implement a system of tests to assess its respective

                 employees’ knowledge of the education programs discussed in the preceding

                 subparagraphs, as well as randomly and periodically testing employees’

                 compliance with Defendant’s policies, programs, and systems for protecting

                 personal identifying information;

         xiv.    requiring Defendant to implement, maintain, regularly review, and revise as

                 necessary a threat management program designed to appropriately monitor

                 Defendant’s information networks for threats, both internal and external, and

                 assess whether monitoring tools are appropriately configured, tested, and

                 updated;

          xv.    requiring Defendant to meaningfully educate all Class Members about the

                 threats that they face as a result of the loss of their confidential PII to third

                 parties, as well as the steps affected individuals must take to protect themselves;

         xvi.    requiring Defendant to implement logging and monitoring programs sufficient

                 to track traffic to and from Defendant’s servers; and for a period of 10 years,

                 appointing a qualified and independent third-party assessor to conduct a SOC 2

                 Type 2 attestation on an annual basis to evaluate Defendant’s compliance with

                 the terms of the Court’s final judgment, to provide such report to the Court and

                 to counsel for the class, and to report any deficiencies with compliance of the

                 Court’s final judgment;

    D.      For an award of damages, including actual, statutory, nominal, and consequential

                                               38
Case 4:21-cv-04081-TLB Document 2              Filed 11/04/21 Page 39 of 39 PageID #: 40



             damages, as allowed by law in an amount to be determined;

      E.     For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

      F.     For prejudgment interest on all amounts awarded; and

      G.     Such other and further relief as this Court may deem just and proper.

                               DEMAND FOR JURY TRIAL

      Plaintiff hereby demands that this matter be tried before a jury.

Dated: October 29, 2021                     Respectfully Submitted,



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                                               39
